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D.c’
UNITED STATES DISTRICT COURT F“‘ED BY "Y
WESTERN DISTRICT OF TENNESSEE g 31
WESTERN DIVISIoN 05 JUL 19 PH 2
tt-DMPS M GOLB.D
STANDARD CONSTRUCTION ) WU3 9_¢<;W COURT
CO., INC., ) itt tg&!*?r§$
)
Plaintiff, )
) No. 04-2831-DP
v. ) District Judge Donald
) Magistrate Judge Pham
MARYLAND CASUALTY CO. )
and NORTHERN INSURANCE )
CO. OF NEW YORK, )
)
Defendants. )
)
)
MARYLAND CASUALTY CO. )
and NORTHERN INSURANCE )
CO. OF NEW YORK, )
)
Third-Party Plaintiffs, )
)
v. )
)
RONALD S. TERRY CONSTRUCTION )
Co., INC., )
)
Third-Party Defendant. )
)
{'DH-¥F[-} ORDER GRANTING

JOINT MOTION TO STAY PROCEEDINGS
AND TO VACATE SCHEDULING ORDER DATES

This Cause coming to be heard on the Joint Motion to Stay Proceedings and to
Vacate Scheduling Order Dates, filed by Plaintiff, Standard Construction Co., lnc.,
DefendantS/Third-Party Plaintiffs Maryland Casualty Cornpa:ny and Northern Insurance

Cornpany of NeW York, and Third-Party Defendant Ronald S. Terry Construction Co.,

This document entered on the docket sheet ln compliance
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with Ru\e 58 and[or 79(3) FFtCP on 6

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Inc., the Court hereby GRANTS the Joint Motion for the reasons stated therein, ordering
and declaring as follows:
1) This case is STAYED pending further order of the Court;
2) The dates established by the February l, 2005 Scheduling Order and
March 25, 2005 Notice of Setting are hereby VACATED; and
3) The parties are to advise the Court promptly When the underlying
arbitration is resolved so that a scheduling conference may be held.
IT IS SO ORDERED.
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B‘ernicc‘B.-Burral'd "\_`u l‘\- 'P\\c.,v\_
United States D-i-striet-Judge
“O(§`\Hrv=t\_`
Date: 30 \C.} l Y'i 'L`OT

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
case 2:04-CV-0283l Was distributed by faX, mail, or direct printing on
.luly 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

